Case: 1:18-cv-05369 Document #: 72-1 Filed: 07/15/19 Page 1 of 14 PageID #:2527




                           Exhibit

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  Case: 1:18-cv-05369 Document #: 72-1 Filed: 07/15/19 Page 2 of 14 PageID #:2527




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

     UBIQUITI NETWORKS, INC.,

                               Plaintiff,

                          v.

     CAMBIUM NETWORKS, INC.;                             Civil Action No.: 1:18-cv-05369
     CAMBIUM NETWORKS, LTD.;
     BLIP NETWORKS, LLC;                                 JURY TRIAL DEMANDED
     WINNCOM TECHNOLOGIES, INC.;
     SAKID AHMED; and
     DMITRY MOISEEV

                               Defendants.


             DECLARATION OF MICHAEL T. FENN, JR. IN SUPPORT OF
             UBIQUITI’S MOTION TO LIFT THE STAY ON DISCOVERY

       I, Michael T. Fenn, Jr., declare as follows:

               I have been retained as an expert by counsel for Plaintiff Ubiquiti Networks, Inc.

(“Ubiquiti”) in the above-captioned matter and I have prepared this declaration at their request.

               I am employed by Aon Intellectual Property Solutions (“Aon”). Aon is being

compensated for my work in this matter based upon an hourly billing rate of $477. My

compensation, and that of Aon, is in no way contingent upon the opinions expressed herein or

upon the outcome of this matter

Qualifications

               I received a Bachelor of Science degree in Electrical and Computer Engineering

from Cornell University in 2004, concentrating in Computer Engineering and taking various

courses in Computer Science. Prior to my graduation, I accepted a position as an Electrical

Engineer with Raytheon Integrated Defense Systems in Sudbury, MA and was awarded a



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  Case: 1:18-cv-05369 Document #: 72-1 Filed: 07/15/19 Page 3 of 14 PageID #:2527




Raytheon fellowship for graduate studies, through which I received a Master of Science degree in

Electrical and Computer Engineering from the University of Massachusetts at Amherst in 2006,

concentrating in Signal Processing and Communications.

               At Raytheon, I developed and architected software – as both an individual

developer and as a technical lead – for real-time radar signal processing and adaptive digital beam-

forming for multiple large phased-array missile-and-air defense radars.

               I additionally spent time at Raytheon as a Systems Engineer, developing and

modeling novel radar data processing algorithms and writing formal software requirements to

dictate the implementation of those algorithms by a team of software developers. I also served as

technical lead to the team of systems and software engineers.

               In my current position as a Vice President at Aon Intellectual Property Solutions –

and in my prior positions as a Vice President in the Intellectual Property practice of Stroz

Friedberg, which was acquired by Aon in 2016, and as a Computer Scientist at Elysium Digital,

which was acquired by Stroz Friedberg in 2015 – I have served as a consulting or testifying expert

on approximately 50 matters, the majority of which concerned intellectual property disputes

regarding software. In these matters, I have frequently analyzed the development history and

provenance of software and firmware source code. I have also analyzed the source code of

numerous software projects that incorporate varying quantities of source code licensed as open

source under Open Source Initiative approved licenses.

               I am also a certified GIAC Certified Forensic Examiner and have performed various

types of computer forensic analyses in several matters during my time at Aon, Stroz Friedberg,

and Elysium Digital.




                                                                                                  2
  Case: 1:18-cv-05369 Document #: 72-1 Filed: 07/15/19 Page 4 of 14 PageID #:2527




               I have submitted expert reports, declarations, been deposed, and testified in court

as an expert on both software and firmware, as described in the true and correct copy of my

Curriculum Vitae, attached to this report as Exhibit A.

Scope of Work and Materials Relied Upon:

               I have been requested by counsel for Ubiquiti to review the declaration submitted

by Jeff Fischer on behalf of Defendants to determine whether the opinions contained therein are

reasonable and supportable by the information reviewed by Jeff Fischer.

               In performing this task, I obtained or was provided the following:

           a. The Declaration of Jeff Fischer in Support of Defendants’ Motion to Dismiss the
              First Amended Complaint (“Fischer Declaration”), including all exhibits;

           b. The Ubiquiti First Amended Complaint;

           c. The Ubiquiti GPL Archive for GPL.UBNT.v6.1.7; and

           d. The Ubiquiti SDK for Ubqituit’s AirOS operating system – AirOS 5.2
              (SDK.UBNT.v5.3.tar.bz2); AirOS 5.3.3 (SDK.UBNT.v5.3.3.tar.bz2); and AirOS
              5.5 (SDK.UBNT.v5.5.tar.bz2) (collectively the “Ubiquiti SDKs”).

Detailed Statements of Opinions and Findings:

               It is my opinion that Mr. Fischer reached a number of incorrect conclusions in his

declaration based on: (1) a lack of sufficient information; (2) erroneous assumptions; and (3) an

incomplete analysis. My review of the Fischer Declaration is ongoing and this declaration does

not contain all of my opinions or criticisms with respect to the Fischer Declaration.

       Insufficient Information

               Mr. Fischer states his task was to opine on whether source code identified by

Ubiquiti in the First Amended Complaint are the same or similar to files contained in “any open

source or GPL archived file” released by Ubiquiti. (Fischer Decl. ¶11). Performance of this task

would require a comparison of the text of the source code identified by Ubiquiti with the text of



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  Case: 1:18-cv-05369 Document #: 72-1 Filed: 07/15/19 Page 5 of 14 PageID #:2527




the source code otherwise released by Ubiquiti under an open source license, such as the GNU

Public License (GPL). A fundamental and necessary input of this comparison is the source code

for the software or firmware modules identified by Ubiquiti in the First Amended Complaint. Mr.

Fischer admits he did not have this information available and instead relied solely on the names of

the files and the functionality ascribed to them in the First Amended Complaint. (Fischer Decl.

¶26). Without the actual underlying source code that constitutes those modules, it is impossible

to opine to a reasonable degree of certainty that the actual contents are identical, similar, derivative,

or otherwise comparable to any other extent.

    Incorrect Assumptions

                Due to the lack of the actual source code, Mr. Fischer simply took the names of the

code modules identified in the First Amended Complaint and searched for files in the SDK that

contain the same or similar names. (Fischer Decl. ¶¶27-42). In doing so, he incorrectly assumed

that the presence of a similar name or portion of a name meant that the underlying files were a

“match” or “likely match.” Even if taken as merely a first step, no reasonable expert in this field

would rely on such an assumption without later confirming its accuracy with deeper analysis.

Moreover, this assumption is demonstrably false, as shown by the following examples:

        •   The Amended Complaint identified a file “ubntconf_cl.sh.” This is a shell scripting
            file, as indicated by its “.sh” file extension. Mr. Fischer points to a file “ubntconf” as
            the “match.” (Fischer Decl. ¶32). However, the file identified by Mr. Fischer is a
            binary executable file called by the scripting file, not the scripting file itself;

        •   The Amended Complaint identified a package “ubnt-3g”. Mr. Fischer searched the
            SDK and found another filename containing the characters “3g” and states that the
            “match” is a file called 30-3g. (Fischer Decl. ¶33); and

        •   The Amended Complaint identified a package “ubnt-poe-control”. Mr. Fischer
            assumes “poe” means “Power over Enternet” (PoE) and identifies the “likely match”
            as file called “advanced.cgi” because it contains part of the user interface for turning
            on PoE. (Fischer Decl. ¶42). However, this is not a “match” and the file identified
            by Mr. Fischer is not the code for implementing the actual low-level PoE



                                                                                                       4
  Case: 1:18-cv-05369 Document #: 72-1 Filed: 07/15/19 Page 6 of 14 PageID #:2527




           functionality, only the user interface to turn it on. This is analogous to claiming that
           disclosing a light switch is the same as disclosing all of the interconnected wiring
           hidden in the walls and circuit panel.

               Mr. Fischer also incorrectly assumes that the presence of a compiled module in

Ubiquiti’s SDK means that the file is licensed under the GPL. (Fischer Decl. ¶20). To the contrary,

as set forth in Exhibit A to Fisher’s own declaration, only “some of the software in the firmware

is licensed under the GNU General Public License and other Open Source and Free Software

licenses. You can find the complete and corresponding source in our SDK.” (Fischer Decl., Ex.

A, emphasis added). Thus, it is wrong for Mr. Fischer to conclude: (1) for modules where Ubiquiti

has included only the compiled object code (i.e. the constituent source code is not included in the

SDK), that the entirety of its corresponding source code is covered by the GPL; and (2) that source

code present in the SDK that does not explicitly say it is released under the GPL, is nonetheless

under the GPL. No reasonable expert would have arrived at these conclusions reached by Mr.

Fischer. Additionally, I note that even if a given compiled software or firmware module was built

using some GPL-covered code, it is not necessarily true that every constituent source code file is

covered by that same license.

               Mr. Fischer also incorrectly assumes that the presence of a similar file in the SDK,

even if it was covered by the GPL, means that a different file asserted in this case is also covered

by the GPL. While it is my understanding that releasing a file under the GPL means that someone

else using that file agrees to also release under the GPL any derivatives of that file they create, Mr.

Fischer does not point to any section of the GPL that obligates the Licensor (here Ubiquiti) to

release all future derivatives of its own work under the terms of the GPL. Thus, if Ubiquiti released

its own works under the GPL (not work Ubiquiti itself bases on code developed by others that

Ubiquiti received under the GPL), the mere fact that Mr. Fischer can point to a prior version being




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  Case: 1:18-cv-05369 Document #: 72-1 Filed: 07/15/19 Page 7 of 14 PageID #:2527




released under the GPL does not lead to his conclusion that a later version released by Ubiquiti

must also be released under the GPL.

                 Mr. Fisher’s Declaration fails to provide any basis for concluding any of the files

identified in the Amended Complaint were written by Ubiquiti based on code Ubiquiti received

under the GPL. That is, Mr. Fischer does not identify any third-party GPL code used by Ubiquiti

in any of the files identified in the First Amended Complaint. Thus, it is incorrect for Mr. Fischer

to conclude that the presence of a similar file in the SDK, even if covered by the GPL, means that

all derivatives of those files are also covered by the GPL. No reasonable expert would have

reached this conclusion based on the information available to Mr. Fisher.

   Incomplete Analysis

                 Mr. Fischer also appears to erroneously conflate object code with source code. In

regard to various source code modules identified in the Amended Complaint (such as ubnt-

spectral, ubnt-spectral-2, ubnt-poll, and ubnt-regd), Mr. Fischer identifies as a “match” or “likely

match” compiled object code with similar names found in the SDK (e.g. ubnt_spectral.ko,

ubnt_poll.ko, and regdomain). (Fischer Decl. ¶¶29, 30, and 41). With respect to regdomain, Mr.

Fischer states that he only found the object code which he simply assumes, without any sufficient

basis for doing so, must be based on the same source code as ubnt-regd despite the difference in

the names. (Fischer Decl. ¶41). However, it is well-known that object code is not source code;

source code is human-readable code written by developers, while object code is largely unreadable

code generated through the compiling of that source code. To the extent that Mr. Fischer merely

meant to imply that the presence of the compiled object code in the SDK means that constituent

source code is covered under the GPL, this is also incorrect for the reasons I have stated above.

See supra ¶14.




                                                                                                  6
  Case: 1:18-cv-05369 Document #: 72-1 Filed: 07/15/19 Page 8 of 14 PageID #:2527




               Mr. Fischer does not identify any source code in the SDK that is similar or a

“match” to the source code identified by Ubiquiti. Not only does Mr. Fischer not have the source

code for the code identified in the First Amended Complaint, as discussed above, Mr. Fischer also

does not have the source code for the object code files he has identified in the SDK. Mr. Fischer

does not even do a comparison of the object code of these files to say they are the same unreadable

object code. Nonetheless, he opines to a reasonable degree of expert certainty that “[i]t is my

opinion that the source or object code for all of these components or for substantial parts of these

components, is included in Ubiquiti’s Open Source Archives.” (Fischer Decl. ¶24). This opinion

is unfounded, and no reasonable expert would have reached this conclusion based on the

information available to Mr. Fisher.

               Mr. Fischer also states he has “done global file searches in the asserted components

of the Ubiquiti Open Source Archives and found no place where Ubiquiti lays claim to a license

for any of the work in thee files other than the GPL” and with respect to each file he identified in

the SDK that he has found “no alternative separable license.” (Fischer Decl. ¶43 and Exhibit D).

However, Mr. Fischer’s “search” was clearly lacking in diligence. For object code included by

Ubiquiti in the SDK, Mr. Fischer, as an expert in this field, could have searched for strings (e.g.

using the standard Unix tool “strings”) within the object code to determine whether that object

code file identified what license was applicable to that file. This would be especially prudent in

light of the express statement by Ubiquiti in Exhibit A of Fischer’s Declaration that only some

items in the SDK are covered by the GPL. Such an analysis would have informed Mr. Fischer that

numerous object code files he identifies expressly state that are proprietary to Ubiquiti, and thus

not released under the GPL – nor are their constituent source code files released under any open




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  Case: 1:18-cv-05369 Document #: 72-1 Filed: 07/15/19 Page 9 of 14 PageID #:2527




source license. For example, the output of the “strings” tool for “ubnt_spectral.ko” in the SDK

identified by Mr. Fischer shows:

   …
   license=Proprietary
   description=Ubiquiti Spectral Analysis Module
   author=Ubiquiti Networks, Inc.
   …

               In contrast, the “strings” output for a GPL-licensed object code file

(SDK.UBNT.v5.3.3/openwrt/package/ubnt-base-files/files/lib/modules/2.6.15-

5.2/wlan_leds_print.ko) in the SDK shows the following:

   …
   license=GPL
   description=Signal display (printk) module for madwifi
   author=UBNT, kaleda
   …



               Similarly, While Mr. Fischer cites to examples of certain files in the SDK that

declare that they are licensed under the GPL, he ignores the examples that claim otherwise. For

example, while at ¶20 of the Fischer Decl., Mr. Fischer cites to one “makefile”

(SDK.UBNT.v5.3/openwrt/package/ubnt-base-files/makefile) to advance his opinions he ignores

another makefile (SDK.UBNT.v5.3/openwrt/package/ubnt-web/Makefile) that omits any similar

statement regarding the application of the GPL, which asserts only:

   #
   # Copyright (C) 2007 Ubiquiti Networks, Inc.
   #

        While Mr. Fischer asserts that "it is not sufficient to state an alternative license in a file

header; it must also stand the test of not being a derivative work[,]" Mr. Fischer has conducted no

such tests himself as he has not compared any source code files in such a manner. (Fischer Decl.

¶20).




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 Case: 1:18-cv-05369 Document #: 72-1 Filed: 07/15/19 Page 10 of 14 PageID #:2527




               For all of the reasons stated above, no reasonable expert would have reached Mr.

Fischer’s conclusions based on the information available to Mr. Fisher.

               I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.




       Executed this 15th day of July, 2019




       Michael T. Fenn, Jr.




                                                                                              9
Case: 1:18-cv-05369 Document #: 72-1 Filed: 07/15/19 Page 11 of 14 PageID #:2527




                           Exhibit

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 Case: 1:18-cv-05369 Document #: 72-1 Filed: 07/15/19 Page 12 of 14 PageID #:2527




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PROFESSIONAL EXPERIENCE

STROZ FRIEDBERG, LLC
Vice President
2018 to Present

STROZ FRIEDBERG, LLC
Director
2015 to 2017

ELYSIUM DIGITAL, LLC
Computer Scientist
2011 to 2015

RAYTHEON COMPANY
Senior Electrical Engineer II (Systems and Software Engineering)
2004 to 2011

ABIOMED, INC.
Software and Electronics Engineering Co-op
2002 to 2003



EDUCATION

UNIVERSITY OF MASSACHUSETTS AMHERST
M.S., Electrical and Computer Engineering, 2006
Thesis: “Radar Signal Processing: Implementation for High Performance”

CORNELL UNIVERSITY
B.S., Electrical and Computer Engineering, 2004



CERTIFICATIONS

Certified Forensic Examiner, GIAC, 2015




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 Case: 1:18-cv-05369 Document #: 72-1 Filed: 07/15/19 Page 13 of 14 PageID #:2527




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TRAINING

THE SANS INSTITUTE
SEC575: Mobile Device Security and Ethical Hacking, 2017
FOR408: Windows Forensic Analysis, 2015



TESTIMONY

2019, 2018: Blattman et al. v. Siebel et al.
U.S. District Court, District of Delaware, Case No. 1:15-cv-00530
Testified as expert witness at trial, was deposed, and submitted two expert reports on behalf of Eric Blattman (represented
by Williams & Connolly) in a contract dispute involving software assets transferred in a company acquisition.

2018: 1-800-REGISTRY, LLC et al. v. Teamvvork, LLC et al.
Eighth Judicial District Court, Clark County, Nevada, Case No. A-17-763044-B
Was deposed and submitted two expert reports on behalf of The Chapel LLC (represented by Flangas Dalacas Law Group
and Quinn Emanuel Urquart & Sullivan) in a trade secret matter involving web site technology.

2018: SoCal Diesel, Inc. v. Extrasensory Software, Inc.
Superior Court of California, Los Angeles County, Case No. BC597857
Testified as expert witness at trial and was deposed on behalf of SoCal Diesel, Inc. (represented by Hacker Law Group) in a
trade secret matter involving engine control module technology.

2015: SafeNet, Inc. v. Uniloc USA, Inc. et al.
U.S. District Court, Eastern District of Texas, Case No. 6:15-cv-00097
Submitted declaration on behalf of Safenet, Inc. (represented by Fish & Richardson) in a patent matter involving the alleged
failure to mark software licensing administration products.

2014: L-3 Communications Corporation et al. v. Jaxon Engineering & Maintenance, Inc. et al.
U.S. District Court, District of Colorado, Case No. 1:10-cv-02868
Was deposed, submitted expert reports, and submitted declaration on behalf of Jaxon Engineering & Maintenance, Inc., et
al. (represented by McKenna Long & Aldridge) in a matter involving trade secret misappropriation allegations concerning
software that measures electromagnetic shielding effectiveness.

2013: Zettaset, Inc. v. Intel Corporation
Superior Court of the State of California, County of Santa Clara, Case No. 1:13-cv-254447
Was deposed and submitted declaration on behalf of Intel Corporation (represented by Williams & Connolly) in a matter
involving trade secret misappropriation allegations regarding fault tolerance in Hadoop distributed computing software.




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 Case: 1:18-cv-05369 Document #: 72-1 Filed: 07/15/19 Page 14 of 14 PageID #:2527




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AWARDS AND RECOGNITION

Raytheon Fellowship for Advanced Study, University of Massachusetts Amherst


02/19




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